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                   Massachusetts Department of Public Health COVID-19 Vaccine Data – Tuesday, March 29, 2021


                    COVID-19 Cases in Fully Vaccinated Individuals

                     The COVID-19 Cases in Fully Vaccinated Individuals Report is
                     updated weekly and posted on Tuesday. Additional data on
                     vaccines are published in the Daily Vaccine Report (posted
                     Monday-Friday) and the Weekly Vaccination Dashboard (posted
                     on Thursday).




Please note: Identification of cases in vaccinated people relies on matching data between the system of record for cases and
vaccinations. The number of cases in vaccinated people may be undercounted due to discrepancies in the names and dates of
birth of individuals, resulting in an inability to match records across systems. Hospitalization data is likely also undercounted as
identification and reporting of hospitalized cases relies on that information being obtainable by case investigators through
patient interview.

*Vaccination began December 14, 2020; the earliest date at which individuals would be considered fully vaccinated is January
19, 2021
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      COVID-19 Cases in Fully Vaccinated Individuals
           COVID-19 cases in vaccinated people are counted as those who test positive more than 14 days after the final dose of
            vaccine*
           As of March 26, 2022 there were 5,318,595 fully vaccinated people and there were 463,015 cases in vaccinated people
           7,799 of those 463,015 cases resulted in hospitalization and 2,223 cases resulted in death based on information reported to
            date

                                                                            Cumulative                              Cumulative                           % of All Fully
                                                                            count through                           count through                        Vaccinated
                                                                            last week                               this week                            Individuals*
                                                                            (reported 3/19/2022)                    (reported 3/26/2022)

      Cases                                                                          459,123                               463,015                                     8.7%




      Hospitalizations among cases                                                      7,716                                7,799                                    0.15%




      Deaths among cases                                                              2,222**                              2,223**                                    0.04%

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 likely also undercounted as identification and reporting of hospitalized cases relies on that information being obtainable by case investigators through patient interview.

 **Death counts updated in accordance with adoption of Council of State and Territorial Epidemiologists’ surveillance definition for COVID-19-
 associated deaths. https://cdn.ymaws.com/www.cste.org/resource/resmgr/pdfs/pdfs2/20211222_interim-guidance.pdf                                                                       2
Source: MIIS Data, MAVEN data
